Case 1:18-cv-00225-DKW-KSC Document 21 Filed 08/14/18 Page 1 of 4     PageID #: 548

                                                                    ORIGINAL
      Donna Mae Amina
      Melvin Keakaku Amina
      2304 Metcalf Street 2
                                                                FILED IN THE
      Honolulu, HI 96822                                 UNITED STATES DISTRICT COURT
      (808)949-5215                                           DISTRICT OF HAWAII

                                                               AUG 14 2018
                                                        at I c'clock and     mln.O M
                                                             SUE BEITIA, CLERK




               IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF HAWAII


 U.S. BANK NATIONAL ASSOCIATION,                CIVIL NO.
 AS TRUSTEE FOR J.P. MORGAN                         18-00225 DKW-KSC
 MORTGAGE ACQUISITION TRUST 2006-
 WMC2,ASSET BACKED PASS-THROUGH
 CERTIFICATES,SERIES 2006-WMC2,

            Plaintiff,
                                                    NOTICE OF APPEAL
      V.



 DONNA MAE AMINA,ALSO KNOWN AS
 DONNA M. AMINA; MEL VIN KEAKAKU
 AMINA ALSO KNOWN AS MELVIN K.
 AMINA; ASSOCIATION OF APARTMENT
 OWNERS OF 2304 METCALF STREET; and
 DOES 1 through 20, Inclusive,
            Defendants.




      NOTICE OF APPEAL
Case 1:18-cv-00225-DKW-KSC Document 21 Filed 08/14/18 Page 2 of 4          PageID #: 549




    1. Notice of Appeal is hereby given that Plaintiffs in the above named action

       appeal to the United States Court of Appeals for the Ninth Circuit from the

      following:

       a. [12]FINDINGS AND RECOMMENDATION TO GRANT

          PLAINTIFF'S MOTION TO REMAND("F&R")

          entered on 07/06/2018


       b. [17]ORDER ADOPTING MAGISTRATE JUDGE'S FINDINGS AND

          RECOMMENDATIONS RE [12]

          entered on 07/20/2018


   2. Attached is a full, true and correct copy ofeach document Order or Judgment

       being appealed.

   3. This Amended Notice of Appeal is timely filed within 30 days ofthe Order

       entered on 07/20/2018.

   4. Appellants designate the record in its entirety.

   5. The parties to the Judgment and Orders appealed from and the names and

       addresses oftheir respective attorneys are as follows:

 Appellants:

       Melvin Amina,PlaintiffPro Se
       Donna Amina,PlaintiffPro Se
       2304 Metcalf Street
       Honolulu, HI 96822

 NOTICE OF APPEAL
Case 1:18-cv-00225-DKW-KSC Document 21 Filed 08/14/18 Page 3 of 4   PageID #: 550



       (808)949-5215


 Respondents:

       U.S. BANK NATIONAL ASSOCIATION, AS TRUSTEE FOR J.P.
       MORGAN MORTGAGE ACQUISITION TRUST 2006-WMC2, ASSET
      BACKED PASS-THROUGH CERTIFICATES,SERIES 2006-WMC2
      do ADRIAN L. LAVARIAS
      Bays Lung Rose & Holma
      Topa Financial Center
      700 Bishop St., Suite 900
       Honolulu, HI 96813
      (808)523-9000
       alavarias@legalhawaii.com

       U.S. BANK NATIONAL ASSOCIATION
       do ZACHARY K. KONDO
       ALDRIDGEPITE,LLP
      810 Richards Street, Suite 700
      Honolulu, HI 96813
      (808)275-4490
      zkondo@aldridgepite.com

       U.S. BANK NATIONAL ASSOCIATION
       do LLOYD T. WORKMAN
       ALDRIDGE PITE, LLP
       4375 Jutland Drive, Suite 200
      P.O. Box 17935
      San Diego, CA 92177-0935
      (858)750-6700
       lworkman@aldridgepite.com

                       00,2018


 Donna Amina,Plaintiff Pro Se           ^MelviA Amina,PlaintiffPro Se
 2304 Metcalf Street                     2304 Metcalf Street
 Honolulu, HI 96822                     Honolulu, HI 96822
(808)949-5215                           (808)949-5215



 NOTICE OF APPEAL
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                              CERTIFICATE OF SERVICE

 On the date last written below, I served a true copy ofthe foregoing document upon
the following parties in this action by First Class U. S. mail postage prepaid:

      U.S. BANK NATIONAL ASSOCIATION, AS TRUSTEE FOR J.P.
      MORGAN MORTGAGE ACQUISITION TRUST 2006-WMC2, ASSET
      BACKED PASS-THROUGH CERTIFICATES,SERIES 2006-WMC2
      c/o ADRIAN L. LAVARIAS
      Bays Lung Rose & Holma
      Topa Financial Center
      700 Bishop St., Suite 900
      Honolulu, HI 96813

      U.S. BANK NATIONAL ASSOCIATION
      c/o ZACHARY K. KONDO
      ALDRIDGE PITE, LLP
      810 Richards Street, Suite 700
      Honolulu, HI 96813

      U.S. BANK NATIONAL ASSOCIATION
      c/o LLOYD T. WORKMAN
      ALDRIDGE PITE, LLP
      4375 Jutland Drive, Suite 200
      P.O. Box 17935
      San Diego, CA 92177-0935



Executed on: August id-, 2018
                                      (signed by person mailing)




NOTICE OF APPEAL
